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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

C.A. NO. 07-CV-11693-JLT

PEDRO LOPEZ et al.,
Plaintiffs,

V.

CITY OF LAWRENCE, MA et al.,
Defendants

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DEFENDANT CITY OF LOWELL’S
PRE-TRIAL MEMORANDUM

Pursuant to the court orders in this case that bifurcated this action into liability
and remedial phases, the City of Lowell and its Appointing Authority (“Lowell”) submits
its Pre-Trial Memorandum on the liability phase of the above-captioned matter.

I. CONCISE SUMMARY OF THE EVIDENCE

With respect to Lowell, there is a single plaintiff, Robert E. Alvarez, who has
made allegations against Lowell as set forth in Plaintiffs’ Complaint.’

The City expects the evidence will show that Alvarez cannot make out a prima
facie case of disparate impact discrimination against Lowell under either Title VII of the
Civil Rights Act of 1964, 42 U.S.C. §2000¢e et seg., or M.G.L.c.151B. Lowell’s use of the
2006 Sergeant Promotion Examination (“2006 HRD Examination”) developed and
administered by the Commonwealth of Massachusetts Human Resources Division
(“HRD”), a separate legal entity apart from Lowell, has not adversely affected the rates of

promotions of Hispanics candidates from that test for Sergeant within Lowell.

' On December 4, 2008, Marisol Nobrega dismissed her claims against Lowell.
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The evidence will also show that the 2006 HRD Examination was valid, job-
related and consistent necessity; that Lowell is required by law to make promotions
pursuant to M.G.L.c.31; that Lowell is required to follow M.G.L.c.150E with respect to
how it promotes officers and any changes to that method of promotion; that Lowell is
required to follow its collective bargaining agreements with respect to how it promotes
officers and any change to that method of promotion, and that Lowell acted in good faith
upon reasonable belief that its actions were required and in compliance with applicable
law when it used the 2006 HRD Examination to promote police officers to sergeant.

Alvarez will be unable to show that there exists a reasonable alternative that
would have resulted in lesser adverse impact, and equal or greater job relatedness. The
Plaintiffs’ experts have not identified any such alternative process.

Further, the City expects the evidence to show that Alvarez is not Hispanic and
does not meet the definition and criteria of Hispanic as recognized by HRD. The
evidence will show that Alvarez is White and/or Asian (Filipino).

Lastly, the evidence will show that any failure by Alvarez to score high enough
on the 2006 HRD Examination in order to be considered for motion is due to factors
other than his purportedly being Hispanic.

IL. STATEMENT OF FACTS NOT IN GENUINE DISPUTE

Plaintiffs in their pre-trial memorandum declined to stipulate to facts.

Ill. CONTEST ISSUES OF FACT

As Plaintiffs declined to stipulate or propose any stipulations to Lowell, all facts

are apparently contested. Lowell also refers to the issues raised in Section VI ISSUES OF

LAW.
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IV. JURISDICTIONAL QUESTIONS

Lowell refers to and incorporates the Pre-Trial Memorandum of the City of
Boston (“Boston”) regarding the previously filed Motion to Dismiss by the Defendants.

Lowell also asserts that Alvarez has failed to exhaust his administrative remedies
necessary to file a complaint against the “Appointing Authority, City Lowell” as he failed
to file a charge of discrimination either with the Equal Employment Opportunity
Commission or the Massachusetts Commission Against Discrimination. Lowell further
asserts that the “Appointing Authority, City of Lowell” is not a separate legal entity from
the City of Lowell and is therefore not capable of being sued.

V. QUESTIONS RAISED BY PENDING MOTIONS

Lowell refers to and incorporates the Pre-Trial Memorandum of the City of
Worcester (“Worcester”) regarding the previously filed Motion in Limine concerning
Plaintiffs’ experts.

VI. ISSUES OF LAW

Lowell refers to and incorporates points 6.c, 6.d, 6.e, and 6.f in the issues of law
raised by Boston.

Other issues of law are the following:

Whether Lowell’s use of the 2006 HRD Examination, the challenged employment
practice, adversely impacted the rate of promotion for Hispanics in the Lowell Police
Department through Lowell’s promotions based upon the 2006 HRD Examination.

If there is adverse impact, whether Lowell’s use of the 2006 HRD Examination is
the result of business necessity.

Whether the 2006 HRD Examination is job related.
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Whether there existed prior to Lowell utilizing the 2006 HRD Examination an
alternative that would reduce the discriminatory impact on Hispanics.

Whether Lowell can be held responsible for the 2006 HRD Examination, a test
developed and administered by a third party, HRD, where HRD is required to follow
M.G.L.c.31 and its basic merit principles and where Lowell must obtain approval from
HRD for all promotions.

Whether Alvarez is Hispanic and whether he meets the definition of Hispanic as
set forth by HRD.

VII. ANY REQUESTED AMENDMENTS TO THE PLEADINGS

Lowell has not requested amendments to the Pleadings.

VII. ANY ADDITIONAL MATTERS TO AID IN THE DISPOSITION

Presently, Lowell is unaware of additional matters to aid in the disposition of this
case. It would note, however, that in a court hearing on April 28, 2008 (before some
defendants were named as parties), Plaintiffs acknowledged to Judge Tauro that the non-
state defendants were minor and collateral parties and agreed with Judge Tauro’s
recommendation that the municipal defendants should be dismissed as parties. The state
defendants objected to any such dismissal; and the municipal defendants remained in the
case.

Before a stay of the proceedings was entered by the court on May 13, 2009,
Plaintiffs filed a Pre-Trial Memorandum. That memorandum claims that Plaintiffs “have
attempted to meet and confer with Counsel for the Defendants” and they “have been
unable to confer with Defendants’ counsel.” Plaintiffs never attempted to meet, confer, or

discuss anything with Lowell regarding anything referenced in their memorandum.
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Plaintiffs’ memorandum was filed without Lowell’s knowledge. Presumably, Plaintiffs
was referring to counsel for the state defendants. Prior to the state defendants’ dismissal
on February 1, 2010, it was the primary defendant.

Lowell further states that at the February 1, 2010 conference, the current
defendants requested additional time to adequately prepare and defend this case as the
dismissal of the state defendants dramatically changed the dynamics of this lawsuit and
the stay of proceedings had just recently been lifted. The Plaintiffs responded by stating
they filed a pre-trial memorandum the previous year, were ready for trial, and demanded
a short trial date. The court set the matter down for trial commencing July 12, 2010.

IX. LENGTH OF TRIAL
Lowell estimates the probable length of trial in this case, assuming a 9:00AM to
1:00PM schedule is approximately ten (10) to twelve (12) days. The parties stipulated
to try this case without a jury.
X. WITNESSES
Lowell may call the following persons at trial
Factual
Alvarez, Robert - plaintiff
Lavallee, Kenneth - Superintendent Lowell Police Department
Peaslee, David - Sergeant, Lowell Police Department
Latham, James - Sergeant, Lowell Police Department
Quirbach, David - Sergeant, Lowell Police Department
Noone, Jonathon - Sergeant, Lowell Police Department
Penrose, Mathew - Sergeant, Lowell Police Department
Coyle, Steven - Sergeant, Lowell Police Department
McNeely, Sally - HRD

Lee, Vivian - HRD
Paris, Guy - HRD

Expert
Dr. Outtzz, James

Dr. Silva, Jacinto
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Lowell reserves the right to amend, update or revise this list as the Court and/or

Rules may permit.

XI. EXHIBITS

Lowell may introduce the follow exhibits:

1,

All documents listed in the expert reports of Dr. James Outtz dated
February 9, 2009 and May 28, 2010;

All documents listed in the expert reports of Dr. Jacinto Silva dated
February 9, 2009 and May 28, 2010;

All documents produced by HRD in this matter;

The personnel records of Robert Alvarez from the Lowell Police
Department;

The personnel records of Robert Alvarez from the Waltham Police
Department;

The personnel records of Robert Alvarez from the Groton Police
Department;

Records previously provided to Lowell from Alvarez through
discovery in this matter; and

Records previously provided to Alvarez by Lowell through discovery

in this matter.

Lowell reserves its right to amend, update or revise this list as the Court and/or

Rules may permit.
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Respectfully Submitted,

June 25, 2010 CITY OF LOWELL, DEFENDANT

/s Brian W. Leahey

Brian W. Leahey, Assistant City Solicitor
BBO #567403

City of Lowell - Law Department

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CERTIFICATE OF SERVICE

I hereby certify that a true copy of the foregoing document, filed through the
Electronic Case Filing System, will be sent electronically to the registered participants as
identified on the Notice of Electronic Filing on June 25, 2010.

/s Brian W. Leahey
Brian W. Leahey, Assistant City Solicitor

